Case: 24-30706      Document: 155-1     Page: 1    Date Filed: 12/30/2024




        United States Court of Appeals
             for the Fifth Circuit                          United States Court of Appeals
                                                                     Fifth Circuit
                             ___________                           FILED
                                                           December 30, 2024
                              No. 24-30706
                                                              Lyle W. Cayce
                             ___________
                                                                   Clerk
Darcy Roake, Reverend, on behalf themselves and on behalf
of their minor children, real party in interest A.V., real party
in interest S.V.; Adrian Van Young, on behalf of themselves and
on behalf of their minor children, real party in interest A.V., real
party in interest S.V.; Mamie Broadhurst, Reverend, on
behalf of themselves and on behalf of their minor child, real party in
interest N.W.; Richard Williams, Reverend, on behalf of
themselves and on behalf of their minor child, real party in interest
N.W.; Jeff Sims, Reverend, on behalf of himself and on behalf of his
minor children, real party in interest A.S., real party in
interest C.S. 1, real party in interest C.S. 2; Jennifer
Harding, on behalf of themselves and on behalf of their minor child, real
party in interest A.O.; Benjamin Owens, on behalf of themselves
and on behalf of their minor child, real party in interest A.O.;
David Hawley, on behalf of themselves and on behalf of their minor children
real party in interest A.H., real party in interest L.H.;
Erin Hawley, on behalf of themselves and on behalf of their minor children,
real party in interest A.H, real party in interest L.H.;
Dustin McCrory, on behalf of themselves and on behalf of his minor
children, real party in interest E.M.; real party in
interest P.M., real party in interest L.M.; Gary
Sernovitz, on behalf of themselves and on behalf of their minor child, real
party in interest T.S.; Molly Pulda, on behalf of themselves and
on behalf of their minor child. real party in interest T.S.;
Christy Alkire, on behalf of herself and on hehalf of her minor child,
real party in interest L.A.; Joshua Herlands, on behalf of
himself and on behalf of his minor children, real party in interest
E.H., real party in interest J.H.,

                                                      Plaintiffs—Appellees,
Case: 24-30706      Document: 155-1        Page: 2   Date Filed: 12/30/2024

                                 24-30706



                                  versus

Cade Brumley, in his official capacity as the Louisiana State
Superintendent of Education; Conrad Appel, in his official capacity as a
member of the Louisiana State Board of Elementary and Secondary Education
(LSBESE); Judy Armstrong, in her official capacity as a member of the
LSBESE; Kevin Berken, in his official capacity as a member of the
LSBESE; Preston Castille, in his official capacity as a member of
LSBESE; Simone Champagne, in her official capacity as a member of the
LSBESE; Sharon Latten-Clark, in her official capacity as a member
of the LSBESE; Lance Harris, in his official capacity as a member of
LSBESE; Paul Hollis, Louisiana State Board of
Elementary and Secondary Education; Sandy Holloway,
in her official capacity as a member of the LSBESE; Stacey Melerine, in
her official capacity as a member of the LSBESE; Ronnie Morris, in his
official capacity as a member of the LSBESE; East Baton Rouge
Parish School Board; Livingston Parish School Board;
Vernon Parish School Board; St. Tammany Parish
School Board,

                                       Defendants—Appellants.
               ______________________________

               Appeal from the United States District Court
                       Middle District of Louisiana
                         USDC No. 3:24-CV-517
               ______________________________

          ON MOTION FOR INITIAL HEARING EN BANC
ORDER:
      The petition for initial hearing en banc is DENIED because, at the
request of one of its members, the court was polled, and a majority did not
vote in favor of initial hearing en banc (Fed. R. App. P. 35 and 5th Cir.
R. 35).
Case: 24-30706     Document: 155-1      Page: 3     Date Filed: 12/30/2024

                                 24-30706


      In the en banc poll, three judges voted in favor of initial hearing en
banc (Jones, Ho, and Oldham), and fourteen judges voted against initial
hearing en banc (Elrod, Smith, Stewart, Richman, Southwick, Haynes,
Graves, Higginson, Willett, Duncan, Engelhardt, Wilson, Douglas, and
Ramirez).


                            LYLE W. CAYCE, CLERK
                            United States Court of Appeals
                                 for the Fifth Circuit
                                 /s/ Lyle W. Cayce

            ENTERED AT THE DIRECTION OF THE COURT
